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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

AT CHARLESTON
DON BLANKENSHIP,
Plaintiff, CIVIL ACTION NO. 2:19-cv-00236
vs. (Hon. John T. Copenhaver, Jr., District Judge)

HONORABLE ANDREW NAPOLITANO ORDER
(RET.), et al.,

Defendants.

For the reasons set forth in the joint stipulation for dismissal without prejudice between
Plaintiff Don Blankenship (“Plaintiff”) and Defendants Guardian News and Media, LLC; Hearst
Magazine Media, Inc. d/b/a Esquire; The McClatchy Company; National Public Radio, Inc.;
NowThis Media, Inc.; Salem Media Group, Inc. d/b/a TownHall; The 74 Media, Inc.; Vice
Media LLC; Susan Davis; Kevin Mahnken; Ben Jacobs; Martin Pengelly; Charles Pierce; Ben
Boychuk; and Matt Taylor (“Stipulating Defendants”), the Court finds good cause to grant the
relief requested, and it is hereby

ORDERED that Stipulating Defendants Guardian News and Media, LLC; Hearst
Magazine Media, Inc. d/b/a Esquire; The McClatchy Company; National Public Radio, Inc.;
NowThis Media, Inc.; Salem Media Group, Inc. d/b/a TownHall; The 74 Media, Inc.; Vice
Media LLC; Susan Davis; Kevin Mahnken; Martin Pengelly; Ben Jacobs; Charles Pierce; Matt

Taylor; Ben Boychuk, and Bruce Biolarsky are DISMISSED WITHOUT PREJUDICE.

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It is further ORDERED that Plaintiff and Stipulating Defendants shall each bear their
own fees and costs; except that if Plaintiff re-files his action against any of the Stipulating
Defendants, this waiver of fees and costs shall be nuil and void, and of no force or effect, as
between Plaintiff and the Stipulating Defendants against which/whom Plaintiff re-files his action.

Plaintiff and each of the Stipulating Defendants reserve any and all other rights.!

SO ORDERED
DATED: August 19, 2019

Hon. John John T. Copenhaver, Jr.,
USS. District Judge

 

1 As agreed by the Stipulating Parties, in the event that Plaintiff Blankenship renews or brings
any claims, lawsuits, causes of action, or any other proceedings against the Stipulating
Defendants (or any of them) for the conduct and/or publications described in his First Amended
Complaint, each of these Stipulating Defendants expressly reserves, and does not waive, any
rights, claims, defenses, privileges, counterclaims, and remedies it/they may have, including
without limitation any objections to the exercise of personal jurisdiction over them in the venue
in which such proceedings are brought, any defenses based on the statutes of limitation, estoppel,
and/or laches, and including the right to seek attorneys’ fees incurred to date in connection with

their defense of this action.
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